                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION

                                     DOCKET NO. 1:06CR13

UNITED STATES OF AMERICA,                        )
                                                 )
               v.                                )                     FINAL
                                                 )             ORDER OF FORFEITURE
1) SHAFEEQ AMEER MALIK                           )                       of
MUHAMMAD                                         )            1997 MERCEDES BENZ E320
      A/K/A “Sam Wright”                         )               VIN WDBJF55F2VA436264
2) CHADMIKO JAVON STALEY                         )
      A/K/A “Chad”                               )
3) MICHAEL DWAYNE STALEY                         )
      A/K/A “Diesel”                             )
                                                 )
               Defendants.                       )

       THIS MATTER is before the Court on the Government’s motion for a final order of

forfeiture pursuant to Fed. R. Crim. P. 32.2(c)(2).

       All Defendants have pleaded guilty to Count One of the Bill of Indictment and agreed to

forfeit their interest in the subject property. In that Count, the defendants were charged with

conspiracy to possess with intent to distribute cocaine base, a violation of 21 U.S.C.§ 846.

       All necessary personal service has been effected. On January 10, 2007, the United States

published in the Daily Courier, Forest City, North Carolina, a newspaper of general circulation,

notice of this forfeiture and of the intent of the Government to dispose of the forfeited property

according to law, and further notifying all third parties of their right to petition the Court within

thirty days for a hearing to adjudicate the validity of any alleged legal interest in the properties.

It appears from the record that no such claims have been filed.

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED and,


                                                     1


     Case 1:06-cr-00013-MR-WCM               Document 85        Filed 11/29/07       Page 1 of 2
pursuant to Fed. R. Crim. P. 32.2(c), a Final Order of Forfeiture is hereby entered.

       IT IS FURTHER ORDERED that all right, title, and interest in the following property

has, therefore, been forfeited to the United States for disposition according to law:

       1997 MERCEDES BENZ E320
       VIN WDBJF55F2VA436264

                                               Signed: November 29, 2007




                                                 2


     Case 1:06-cr-00013-MR-WCM             Document 85        Filed 11/29/07      Page 2 of 2
